 Case 3:18-cr-04294-DMS Document 127 Filed 03/02/23 PageID.545 Page 1 of 1



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 4
     Attorney for Defendant
 5   GREGORY ALLEN AMOS
 6
                              UNITED STATES DISTRICT COURT
 7
                          SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,            )     Case No. 18-CR-4294-DMS
                                          )
10               Plaintiff,               )     NOTICE OF WITHDRAWAL
                                          )
11   v.                                   )
                                          )
12   GREGORY ALLEN AMOS, et. al.          )
                                          )
13               Defendants.              )
                                          )
14                                        )
15         GREGORY ALLEN AMOS, by and through his attorney, hereby withdraws
16   Document No. 126 on the Court’s docket. It was filed on behalf of another defendant
17   and the wrong case number was entered when filing the motion.
18                                              Respectfully Submitted,
19   Dated: March 2, 2023                       /s Keith H. Rutman
                                                KEITH H. RUTMAN
20                                              Attorney for Defendant
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